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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MINNESOTA
                                                )                 COURT MINUTES - CIVIL
                                                )                 BEFORE: John R. Tunheim
                                                )                    U.S. District Judge
                                                )
In re: Cattle and Beef Antitrust Litigation     )   Case No:            20-1319 (JRT/JFD)
                                                )   Date:               August 23, 2022
                                                )   Court Reporter:     Kristine Mousseau
                                                )   Courthouse:         Minneapolis
                                                )   Courtroom:          Video conference
                                                )   Time Commenced:     1:11 p.m.
                                                    Time Concluded:     1:25 p.m.
                                                    Time in Court:      14 Minutes

Motion Hearing on:

Direct Purchaser Plaintiffs’ Motion for Establishment of a Litigation Fund to Cover Current and
Future Litigation Expenses (ECF No. 557)

Direct Purchaser Plaintiffs’ Motion for Final Approval of Settlement between Direct Purchaser
Plaintiffs and JBS Defendants (ECF No. 601)

APPEARANCES:
       Plaintiffs: Ellen Meriwether, Jason Lindner, Adam Zapala, Daniel Gustafson, Jason Scott Hartley, Joshu
Grabar, Megan Jones, Michelle Looby, Blaine Finley, Sarah Sterling Aldridge, Joseph Bruckner
       Defendants: Kevin Zhao, Donald Heeman, Sami Rashid, Tiffany Lipscomb-Jackson, Jon Jacobs


PROCEEDINGS:

   ☒ Motions granted. Written orders forthcoming.




                                                                                                s/Heather Arent
                                                                                              Courtroom Deputy




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